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 1                                                            The Honorable Robert S. Lasnik
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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9   UNITED STATES OF AMERICA,                        )
                                                      )       CASE NO. CR11-383RSL
10                           Plaintiff,               )
                                                      )       ORDER TO EXTEND
11                  v.                                )       PRE-TRIAL MOTIONS RESPONSE
                                                      )       FROM DECEMBER 21, 2012
12                                                    )       TO JANUARY 4, 2013
     JACK PERSHING SEXTON, and                        )
13   RONALD CLAUDE KETTELLS,                          )
                                                      )
14                           Defendants.              )
                                                      )
15

16          THIS MATTER having come before the Court on the Unopposed Motion to Extend
17   Pre-Trial Motions Response, the Court having reviewed the motion, and the records and
18   files herein makes the following findings and enters the following order:
19          IT IS HEREBY ORDERED that the pretrial motions response date in this matter is
20   continued from December 21, 2102 to January 4, 2013.
21          DATED this 20th day of December, 2012.
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                                                      A
                                                      Robert S. Lasnik
                                                      United States District Judge
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     ORDER TO EXTEND PTM MOTIONS RESPONSE
     U.S. v. Jack P. Sexton, et al. / CR 11-383RSL — PAGE 1                             UNITED STATES ATTORNEY
                                                                                         700 Stewart Street, Suite 5220
                                                                                        Seattle, Washington 98101-1271
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